                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       NO. 3:12-00011-2
                                            )       JUDGE CAMPBELL
OBRYANT E. DAVIS                            )


                                            ORDER


        Pending before the Court is Defendant Davis’ Motion Requesting Plea Hearing (Docket

No. 44). The Motion is GRANTED.

        The Court will hold a change of plea hearing on October 5, 2012, at 8:30 a.m. Any

proposed plea agreement shall be submitted to the Court by October 4, 2012.

        IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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